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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION
   Dalia Dippolito,

             Petitioner,                   CASE NO: 9:23-cv-81027-Middlebrooks/Matthewman

   vs.

   Florida Department of Corrections,

         Respondent.
   __________________________________________/

                      OBJECTIONS TO REPORT AND RECOMMENDATION

             COMES NOW the Petitioner Dalia Dippolito (“Ms. Dippolito”), by and through

   undersigned counsel, and hereby submits these objections to the report and recommendation filed

   by United States Magistrate Judge on April 22, 2025. In support, Ms. Dippolito states:

         -   Ground 1

             1.     The Magistrate Judge recommends that Ground 1 be denied and a certificate of

   appealability not issue because in a section 2254 proceeding the Supreme Court has never held

   that a defendant has the due process right to present an objective entrapment defense.           Ms.

   Dippolito objects.

         2. AEDPA does not “require state and federal courts to wait for some nearly identical factual
            pattern before a legal rule must be applied.” Carey v. Musladin, 549 U.S. 70, 81, 127 S.Ct.
            649, 656, 166 L.Ed.2d 482 (2006) (KENNEDY, J., concurring in judgment). Nor does
            AEDPA prohibit a federal court from finding an application of a principle unreasonable
            when it involves a set of facts “different from those of the case in which the principle was
            announced.” Lockyer v. Andrade, 538 U.S. 63, 76, 123 S.Ct. 1166, 155 L.Ed.2d 144 (2003).
            The statute recognizes, to the contrary, that even a general standard may be applied in an
            unreasonable manner. See, e.g., Williams v. Taylor, 529 U.S. 362, 120 S.Ct. 1495, 146
            L.Ed.2d 389 (finding a state-court decision both contrary to and involving an unreasonable
            application of the standard set forth in Strickland v. Washington, 466 U.S. 668, 104 S.Ct.
            2052, 80 L.Ed.2d 674 (1984)).

   Panetti v. Quarterman, 551 U.S. 930, 953 (2007).



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           3.      The Supreme Court has recognized that a defendant’s due process right to present

   a defense is a “fundamental element” of due process. Washington v. Texas, 388 U.S. 14, 19 (1967).

   And “[u]nder the Due Process Clause of the Fourteenth Amendment, criminal prosecutions must

   comport with prevailing notions of fundamental fairness. We have long interpreted this standard

   of fairness to require that criminal defendants be afforded a meaningful opportunity to present a

   complete defense.” California v. Trombetta, 467 U.S. 479, 485, 104 S.Ct. 2528, 81 L.Ed.2d 413

   (1984). In accordance with these principles, the United States Supreme Court has recognized that

   “[a]s a general proposition, a defendant is entitled to an instruction as to any recognized defense

   for which there exist evidence sufficient for a reasonable jury to find in his favor.” Mathews v.

   United States, 485 U.S. 58 (1988).

           4.      Objective entrapment is a recognized defense in Florida. Munoz v. State, 629 So.

   2d 90, 99 (Fla. 1993) (“in the presence of egregious law enforcement conduct, an entrapment

   defense is to be evaluated under the due process provision of article I, section 9, of the Florida

   Constitution as in Glosson and Williams.”). And in conformance with the due process clause, it

   was for the jury, not the trial court, the appellate court, the State or this Court to ultimately decide

   Ms. Dippolito’s defense of objective entrapment for which ample evidence existed.

           5.      In Bradley v. Duncan, 315 F.3d 1091, 1098–99 (9th Cir. 2002) the Ninth Circuit

   granted a petitioner federal habeas relief after concluding the trial court’s failure to instruct on the

   defendant’s defense theory of entrapment violated the defendant’s right to due process. Ms.

   Dippolito raises an identical issue. She should be afforded relief like in Bradley.

           6.      The Magistrate Judge, citing Marquez v. Gentry, 708 Fed. Appx. 924 (9th Cir.

   2018), finds the Supreme Court’s decision in Gilmore v. Taylor, 508 U.S. 333 (1993) renders

   Bradley wrong. Ms. Dippolito disagrees that Gilmore makes Bradley incorrect:



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        In Gilmore, the Supreme Court rejected an argument “that confusing instructions
        on state law which prevent a jury from considering an affirmative defense” violate
        due process. 508 U.S. 333 at 343–45. The Court explained that crediting the
        defendant's argument “would make a nullity of the rule reaffirmed in [McGuire],
        that instructional errors of state law generally may not form the basis for federal
        habeas relief.” Id. However, Gilmore did not involve a scenario where a trial court
        refused to give an instruction completely; rather, the defendant was arguing that
        instructions actually given by the state court violated his due process. Id. at 343–44
        (explaining defendant's argument that “jury instructions given at his trial interfered
        with his fundamental right to present a defense” and that “confusing instructions on
        state law” could violate due process). In this scenario, the conflict with McGuire is
        clear—if state defendants were permitted to argue that the specific wording of jury
        instructions on state law given at trial interfered with their ability to present a
        complete defense, the floodgates would be opened to allegations that instructions
        on state law violated due process, potentially rendering the principle in McGuire
        meaningless. Indeed, the McGuire court announced this principle in a similar
        context—a challenge to a jury instruction actually given at trial, which was
        allegedly deficient in comparison to the standard state model. McGuire, 502 at 71–
        72. Here, Petitioner is not arguing any instruction was deficient under state law or
        that any instruction on state law was constitutionally deficient, but is instead
        challenging a court's refusal to include a requested jury instruction.

        To be sure, the Gilmore court also cited several cases involving the right to present
        a complete defense and noted that none “involved restrictions imposed on a
        defendant's ability to present an affirmative defense.” 508 U.S. at 344. Notably, the
        Court did not cite to Mathews, where the Supreme Court clearly acknowledged that
        “[a]s a general proposition a defendant is entitled to an instruction as to any
        recognized defense for which there exists evidence sufficient for a reasonable jury
        to find in his favor.” Mathews, 485 U.S. 58 at 63. While Respondent correctly notes
        that Mathews was not a habeas case and that the Mathews court cited this
        proposition as a general rule, rather than as an extension of the right to due process,
        the Ninth Circuit has clearly applied Mathews in the context of alleged due process
        violations in state court raised in federal habeas petitions post-AEDPA. See, e.g.,
        Bradley, 315 F.3d at 1098 (“The Supreme Court has held that ‘[a]s a general
        proposition, a defendant is entitled to an instruction as to any recognized defense
        for which there exists evidence sufficient for a reasonable jury to find in his favor.’
        ...We have applied this standard to habeas petitions arising from state convictions”);
        Clark, 450 F.3d 898 at 904–05 (citing Bradley and Conde for the proposition that
        failure to instruct on the defense theory of the case is reversible error on federal
        habeas review on state convictions and finding that state court violated due process
        by failing to give instruction). Respondent has only cited one, single unpublished
        Ninth Circuit case rejecting this implementation of Mathews in a footnote. See Dkt.
        48 at 38 n.10 (citing Marquez v. Gentry, 708 F. App'x 924, 925 & n.2 (9th Cir.
        2018)) In the absence of controlling authority to the contrary, the undersigned
        declines to depart from the Ninth Circuit's holding that Supreme Court precedent



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          clearly establishes due process can be violated when the trial court fails to instruct
          the jury on a well-supported defense theory. See Bradley, 315 F.3d at 1100–01.

          Indeed, even holding the explicit holding of Bradley aside, this principle does not
          appear inconsistent with McGuire. The McGuire court acknowledged that
          instructional errors could violate due process if it “so infected the entire trial that
          the resulting conviction violates due process.” McGuire, 502 U.S. at 72. Failure to
          instruct on a well-supported defense theory could be an example of when this
          occurs—indeed, the Ninth Circuit has subsequently interpreted Bradley in this
          manner. See Clark, 450 F.3d at 904–05 (citing both McGuire and Bradley before
          finding a trial court's failure to instruct on a defense theory violated due process).

   Brown v. Gastelo, No. 220CV02051FLAMAR, 2023 WL 3585341, at *9 (C.D. Cal. Mar. 15,

   2023), report and recommendation adopted, No. 220CV02051FLAMAR, 2023 WL 3852679

   (C.D. Cal. June 6, 2023)

          7.      The Magistrate Judge alternatively concludes that the claim fails even applying

   Bradley because Ms. Dippolito’s defense of objective entrapment is “specious at best.” The

   Magistrate Judge, however, like the Respondent, omits facts relevant to Ms. Dippolito’s objective

   entrapment defense.     Notably, the Magistrate Judge does not mention that the police were

   contacted to “help” Ms. Dippolito, who had no prior criminal history, with an abusive relationship

   before it turned violent. Instead of helping Ms. Dippolito, law enforcement proceeded to

   manufacture a murder-for-hire plot for the soon to be filming COPS television program. This is

   outrageous conduct. Ms. Dippolito’s objective entrapment defense is not specious at best.

      -   Ground 2

          8.      The Magistrate Judge recommends that Ground 2 be denied and a certificate of

   appealability not issue because the state courts did not unreasonably find that Ms. Dippolito failed

   to prove defense counsel provided ineffective assistance of counsel by mistakenly opening the

   door for the State to introduce evidence that Ms. Dippolito previously attempted to poison her

   husband. Ms. Dippolito objects.



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          9.      The state courts unreasonably found no deficient performance. A finding that

   defense counsel made a strategic decision to open the door for the State to introduce the poisoning

   evidence is contrary to the record. Defense counsel vehemently argued pretrial and during trial,

   including at the time the door was found to have been opened, to have the evidence excluded. T.

   Tr. III at 3414-3416. The lead defense counsel confirmed in an affidavit postconviction that it was

   not defense counsel’s strategy to open the door to the poisoning evidence but an unintended error.1

   Considering defense counsel’s pre-trial, trial, and post-trial actions, Ms. Dippolito at least should

   be given the opportunity to establish at an evidentiary hearing that opening the door was not

   defense strategy and the mistake caused great harm to her defense.

          10.     The state courts unreasonably found no prejudice. Defense counsel’s failure

   permitted the jury to consider the poisoning evidence as substantive evidence of guilt. The

   evidence against Ms. Dippolito was not so overwhelming nor defense counsel’s error so small for

   there to not be a reasonable probability of a different outcome. The introduction of collateral crime

   evidence is presumptively harmful. Defense counsel decried with force the harm being done by

   the admission of the poisoning evidence. Ms. Dippolito’s first trial was reversed by the appellate

   court because the jury incorrectly learned during jury selection about the poisoning evidence.2 The

   second trial resulted in a hung jury. Ms. Dippolito’s claim of prejudice is not speculative.


   1
    The Magistrate Judge questions whether the affidavit from defense counsel is within the record.
   See (DE 6 at 148-149).
   2
     The appellate court granted the new trial despite the prosecution’s harmless error analysis based
   on “the video evidence of Appellant soliciting the undercover officer to kill her husband[.].”
   Dippolito v. State, 143 So. 3d 1080, 1085-1086 (Fla. 4th DCA 2014). By reversing for a new trial,
   the appellate court understood that the evidence against Ms. Dippolito did not outweigh the grave
   negative impact caused by the poisoning evidence:

          Here, we cannot conclude that this error was harmless beyond a reasonable doubt
          “because of the possibility that jurors were unfairly prejudiced by their knowledge”
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         -   Ground 3

             11.    The Magistrate Judge recommends that Ground 3 be denied and a certificate of

   appealability not issue because the state courts did not unreasonably find that Ms. Dippolito failed

   to prove defense counsel provided ineffective assistance of counsel by failing to request a limiting

   instruction after the trial court ruled that the State could introduce for impeachment purposes the

   allegation that Ms. Dippolito previously attempted to poison her husband. Ms. Dippolito objects.

             12.    The state courts unreasonably found no deficient performance. Nowhere in the

   record does it demonstrate defense counsel made a tactical decision to not have the jury instructed

   that the impeachment allegation could be considered only for impeachment purposes nor would it

   have been a reasonable strategic decision to do so. The record demonstrates that defense counsel

   took action throughout the pretrial and trial proceedings to prohibit the poisoning evidence from

   being introduced to the jury because defense counsel believed it to be very harmful to Ms.

   Dippolito’s defense. It logically follows that defense counsel would have wanted to limit the

   damage caused by the poisoning evidence by having the trial court provide a limiting instruction

   to the jury. It is not a reasonable strategy to not request a limiting instruction because of a fear of

   drawing attention to the evidence. Sierra v. State, 230 So. 3d 48, 50-52. (Fla. 2d DCA 2017)

   (finding it objectively unreasonable for defense counsel to not object and request a mistrial because



             of this closely related allegation. Id. (finding error was not harmless because
             “[j]urors could have assumed that because Appellant was charged with another
             robbery, he was the perpetrator of the robbery being tried as well”); see
             also Jackson v. State, 729 So.2d 947, 951 (Fla. 1st DCA 1998) (finding error was
             not harmless “because of the possibility that the jury panel was unfairly prejudiced
             by virtue of their knowledge of his arrest for other crimes”). We note that, if this
             type of evidence had been improperly introduced at trial, it would have been
             presumed harmful. See Kopsho v. State, 84 So.3d 204, 212 (Fla.), cert denied, –––
             U.S. ––––, 133 S.Ct. 190, 184 L.Ed.2d 97 (2012).
   Id.

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   defense counsel strategically did not want to draw attention to the improper opinion testimony).

   Jurors are presumed to follow the instructions given. Johnson v. State, 164 So. 3d 794 (Fla. 1st

   DCA 2015) (“Absent a finding to the contrary, juries are presumed to follow the instructions given

   to them.”). A limiting instruction would not have drawn attention to the evidence but placed the

   evidence in the correct context for the jury to consider.

          13.     The cases cited by the Magistrate Judge are inapplicable to the claim denied

   without an evidentiary hearing. Sherman v. Burke Contracting, Inc., 891 F. 2d 1527 (11th Cir.

   1990) is about a civil appeal not concerning ineffective assistance of counsel . United States v.

   Barnes, 586 F.2d 1052, 1059 (5th Cir. 1978) concerns a direct appeal reviewing a claim not

   involving ineffective assistance of counsel for plain error. United States v. Myers, 917 F. 2d 1008

   (7th Cir. 1990) concerns a finding of reasoned tactical decisions after an evidentiary hearing.

          14.     The state courts unreasonably found no prejudice. Defense counsel’s failure

   permitted the jury to consider the poisoning evidence as substantive evidence of guilt. As stated

   above, the evidence against Ms. Dippolito was not so overwhelming nor defense counsel’s error

   so small for there to not be a reasonable probability of a different outcome. The introduction of

   collateral crime evidence is presumptively harmful. Defense counsel decried with force the harm

   being done by the admission of the poisoning allegation. Ms. Dippolito’s first trial was reversed

   by the appellate court. The second trial resulted in a hung jury. Ms. Dippolito’s claim of prejudice

   is not speculative.

      -   Ground 4

          15.     The Magistrate Judge recommends that Ground 4 be denied and a certificate of

   appealability not issue because the state courts did not unreasonably find that Ms. Dippolito failed

   to prove defense counsel provided ineffective assistance of counsel by failing to call forensic



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   examiners from law enforcement that searched Ms. Dippolito’s computer and found no evidence

   that she searched the internet for ways of poisoning her husband and law enforcement officers who

   investigated her case and found no evidence to substantiate the poisoning allegation. Ms. Dippolito

   objects.

           16.     The state courts unreasonably found no deficient performance. Indeed, defense

   counsel stated as much on the record:

           We’re not prepared to address it if Your Honor admits it.
           …

           We’ve done nothing to prepare for this allegation….
           …

           Had we known that this could possibly come in, had this been raised, the motion in
           limine, when they said, nope, it’s not coming in, we would have been prepared. We
           are not prepared.

           I mean, Ms. Dippolito’s due process rights are just eviscerated right here,
           Judge. I cannot go forward right now, nor can Mr. Claypool, and effectively
           represent Ms. Dippolito at this stage in the proceeding with the previous ruling
           being that unclear. And that’s why I wanted clarity at that motion in limine on
           everything. And I was just insistent on it.

   T. Tr. III at 3406-3435. Neither defense counsel’s statements nor the cross-examination rebuts

   defense counsel’s clear statements they were not prepared:




   T. Tr. III at 3569.




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   T. Tr. III at 3623. Needing to do something and being prepared to do it are not the same. There

   is no indication within the record that defense counsel had sufficient time to prepare after saying

   they were not prepared.

          17.     The state courts unreasonably found no prejudice. Defense counsel’s failure

   resulted in witnesses not being called that would have been able to establish that law enforcement’s

   investigation found no evidence to substantiate the poisoning allegation. As stated above, the

   evidence against Ms. Dippolito was not so overwhelming nor defense counsel’s error so small for

   there to not be a reasonable probability of a different outcome. The introduction of collateral crime

   evidence is presumptively harmful. Defense counsel decried with force the harm being done by

   the admission of the poisoning allegation. Ms. Dippolito’s first trial was reversed by the appellate




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   court. The second trial resulted in a hung jury. Ms. Dippolito’s claim of prejudice is not

   speculative.

      -   Ground 5

          18.     The Magistrate Judge recommends that Ground 5 be denied and a certificate of

   appealability not issue because the state courts did not unreasonably find that Ms. Dippolito failed

   to prove defense counsel provided ineffective assistance of counsel by failing to object to the

   State’s improper closing argument that Ms. Dippolito “is as guilty as anybody has ever been in a

   criminal courtroom - - right there. It doesn’t get any better than this. It’s like Old Milwaukee, it

   doesn’t get any better.” Ms. Dippolito objects.

          19.     The state courts unreasonably found no deficient performance or prejudice. The

   state’s closing remark was in no way proper under any context nor a fair response. Supreme Court

   precedent prohibits prosecutors from making such egregious expressions of their opinion to the

   jury and, in a case that had already been reversed by an appellate court for a new trial and resulted

   in a hung jury, the remark did render Ms. Dippolito’s conviction fundamentally unfair.

      -   Ground 6

          20.     The Magistrate Judge recommends that Ground 6 be denied and a certificate of

   appealability not issue because there can be no cumulative error when each individual ground to

   be without merit. Ms. Dippolito objects.

          21.     Ms. Dippolito relies on the arguments above.         Defense counsel did perform

   deficiently. The harm caused by defense counsel’s cumulative errors satisfies the prejudice

   requirement.




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       -   Ground 7

           22.     The Magistrate Judge recommends that Ground 7 be denied and a certificate of

   appealability not issue because the state courts did not unreasonably find that Ms. Dippolito failed

   to prove appellate counsel provided ineffective assistance of counsel by failing to argue on direct

   appeal that the trial court abused its discretion by permitting the State to use peremptory strikes on

   three African-American prospective jurors and a Hispanic prospective juror, where the record

   refutes the State’s assertion of genuineness. Ms. Dippolito objects.

           23.     Appellate counsel provided ineffective assistance of counsel by failing to argue on

   direct appeal that the trial court abused its discretion by permitting the State to use peremptory

   strikes on three African-American prospective jurors and a Hispanic prospective juror, where the

   record refutes the State’s assertion of genuineness. The issue was raised at trial and preserved for

   appellate review. Had the issue been raised on appeal, it would have been successful and Ms.

   Dippolito afforded a new trial. In light of the strength of the argument and the relief that could

   have been afforded, the failure to raise this claim was not a reasonable strategic decision.

       -   Ground 8

           24.     The Magistrate Judge recommends that Ground 8 be denied and a certificate of

   appealability not issue because the state courts did not unreasonably find that Ms. Dippolito failed

   to prove appellate counsel provided ineffective assistance of counsel by failing to argue on direct

   appeal that the trial court abused its discretion by failing to replace a sleeping juror or, at the least,

   conduct/permit an investigation into juror misconduct. Ms. Dippolito objects.

           25.     Appellate counsel provided ineffective assistance of counsel by failing to argue on

   direct appeal that the trial court abused its discretion by failing to replace a sleeping juror or, at the

   least, conduct/permit an investigation into juror misconduct. The issue was raised at trial and



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   preserved for appellate review. Had the issue been raised on appeal, it would have been successful

   and Ms. Dippolito either afforded a new trial or, at the least, the ability to interview jurors post-

   verdict about the alleged juror misconduct. In light of the strength of the argument and the relief

   that could have been afforded, the failure to raise this claim was not a reasonable strategic decision.

      -   Ground 10

          26.     The Magistrate Judge recommends that Ground 8 be denied and a certificate of

   appealability not issue because the state courts did not unreasonably find that Ms. Dippolito failed

   to prove appellate counsel provided ineffective assistance of counsel by failing to argue the State’s

   improper argument during rebuttal closing that Ms. Dippolito “is as guilty as anybody has ever

   been in a criminal courtroom - - right there. It doesn’t get any better than this. It’s like Old

   Milwaukee, it doesn’t get any better.” deprived Ms. Dippolito a fair trial. Ms. Dippolito objects.

          27.     Appellate counsel provided ineffective assistance of counsel by failing to argue the

   State’s improper argument during rebuttal closing that Ms. Dippolito “is as guilty as anybody has

   ever been in a criminal courtroom - - right there. It doesn’t get any better than this. It’s like Old

   Milwaukee, it doesn’t get any better.” deprived Ms. Dippolito a fair trial. The appellate issue, even

   under Florida’s fundamental error analysis, would have been successful and Ms. Dippolito

   afforded a new trial. In light of the strength of the argument and the relief that could have been

   afforded, the failure to raise this claim was not a reasonable strategic decision.

                                             CONCLUSION

          Due to the foregoing reasons and as argued in the pleadings, Ms. Dippolito requests that

   this Court not adopt the report and recommendation and grant Ms. Dippolito release from custody

   unless, within a reasonable amount of time, the state court provides Ms. Dippolito with a new trial




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   or direct appeal. This Court should provide any other appropriate relief deemed necessary

   including the holding of an evidentiary hearing.

                                                       DATED this 5th day of May, 2025.

                                                       Respectfully submitted,

                                                       /s/ Matthew R. McLain
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                                       CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically
   served to the Office of the Attorney General at crimappwpb@myfloridalegal.com this 5th day of
   May, 2025.

                                                       /s/ Matthew R. McLain
                                                       Matthew R. McLain, Esquire




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